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                            IN THE UNITED STATES BANKRUPTCY COURT
                                 FOR THE DISTRICT OF MARYLAND
                                          (GREENBELT)

IN RE:                                               )
                                                     )
PROSPERITY PARTNERS INC.                             )      Case No. 23-17059 MCR
                                                     )      (Chapter 7)
                   Debtor                            )
                                                     )
*    *   *    *    *    *    *   *   *   *   *   *   *
                                                     )
HARD MONEY PA LLC                                    )
                                                     )
                   Movant,                           )
                                                     )
v.                                                   )
                                                     )
PROSPERITY PARTNERS INC.                             )
                                                     )
and                                                  )
                                                     )
ROGER SCHLOSSBERG                                    )
Chapter 7 Trustee                                    )
                                                     )
                   Respondents.                      )

                  AMENDED MOTION FOR RELIEF FROM THE AUTOMATIC
                         STAY AS TO THE PROPERTY KNOWN AS
                      7755 & 7757 Belle Point Drive, Greenbelt, MD 20770

         Hard Money PA LLC (“Movant”), by and through its attorneys, Shulman Rogers, P.A.,

moves for relief from the automatic stay (the “Motion”) pursuant to 11 U.S.C. §§ 105(a) and 362(d)

and Rules 4001 and 9014 of the Bankruptcy Rules, and states as follows:

         1.        This Court has jurisdiction over this proceeding pursuant to 28 U.S.C. §§ 1334, and

157, 11 U.S.C. § 362, and Bankruptcy Rule 4001.

         2.        Movant is a secured creditor of Debtor Prosperity Partners Inc. (“Debtor”), whose

claim is based upon a certain Commercial Flat Rate Note With Balloon Payment dated May 22,
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2023, executed by Debtor in favor of Movant, in the original principal amount of $75,000.00 (the

“Note”). A true and correct copy of the Note is attached hereto as Exhibit 1.

           3.       Repayment of the Note is secured by that certain Deed of Trust, Assignment of

Rents and Security Agreement dated May 22, 2023, and recorded in Book 48907, at Page 82,

among the Land Records of Prince George’s County, Maryland (the “Deed of Trust”), against the

Property located at 7755 & 7757 Belle Point Drive, Greenbelt, MD 20770 (the “Property”).

           4.       Movant’s claim is supported by Movant’s proof of claim filed on November 2,

2023, as amended. See Claim 43 (the “Claim”).

           5.       Under the terms of the Note, the Debtor agreed, inter alia, to make one payment of

$811.88 on the date of Note execution, eleven monthly payments of $811.88 beginning on August

1, 2023, and continuing each and every month thereafter, and a one final balloon payment of the

remaining indebtedness on or before June 1, 2024. See Exhibit 1 at 1.

           6.       On October 2, 2023, Debtor filed a voluntary petition for relief under Chapter 11

of the Bankruptcy Code, initiating the above-captioned case.1

           7.       The Debtor has accrued pre-petition arrears as follows:

                    Principal                                            $75,000.00
                    Interest                                             $    27.06
                    Other Fees                                           $    35.00
                    Late Charges                                         $    81.19

                    TOTAL DUE PRE-PETITION                               $75,143.25

           8.       As of November 11, 2024, the Debtor has accrued post-petition arrears as follows:

                    Interest                                             $20,350.00
                    Late Charges                                         $ 1,950.00

                    TOTAL DUE POST-PETITION                              $22,300.00



1
    Debtor’s bankruptcy case was later converted to Chapter 7 on or about January 4, 2024.
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       9.      Cause exists under 11 U.S.C. § 362(d)(1) to grant Movant relief from the automatic

stay because Debtor has failed to provide Movant with adequate protection of its interests under

the Note and Deed of Trust.

       10.     As the Note matured on June 1, 2024, the entire balance due under the Note is due

and owing in full to Movant.

       11.     However, as the above-captioned case has been pending for over a year, the lack of

movement has unreasonably delayed Movant’s ability to enforce any of its rights against the

Property. Further, the existence of continuous related litigation has resulted in prolonged delays

to a creditor who provided financing that was to be repaid within one year. The continued delays

have caused hardship to the Movant and Movant must have relief from the stay to exercise its

rights with respect to the Property.

       12.     Therefore, cause exists for termination of the stay under 11 U.S.C. § 362(d)(1) as

Movant lacks adequate protection and continues to be harmed by the stay of 11 U.S.C. § 362(a).

       13.     Movant shall rely on this Motion and no memorandum of fact or law shall be filed.

       WHEREFORE, Movant prays that an Order be entered:

       A.      Terminating the automatic stay of 11 U.S.C. § 362(a) with respect to the Property;

       B.      Authorizing Movant to exercise all rights against the Property under the Note; and

       C.      Granting such other and further relief as this Court deems just and proper.
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                      Respectfully submitted,

                      SHULMAN ROGERS, P.A.

                By:    /s/ Rebekah F. Paradis
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                             Attorneys for Movant
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                              CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 25th day of November, 2024, the following parties
received via electronic case filing this Amended Motion for Relief and Amended Notice of
Motion:

       Max Brauer                         mbrauer@oag.state.md.us
       Merrill Cohen                      merrillc@cohenbaldinger.com
       Peter J. Duhig                     pduhig@mcguirewoods.com
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       US Trustee - Greenbelt             USTPRegion04.GB.ECF@USDOJ.GOV
       Gregg E Viola                      viola@ewmd.com
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       I further certify that on this 25th day of November, 2024, I caused to be mailed by first
class mail, postage prepaid, copies of this Amended Motion for Relief and Amended Notice of
Motion to the following:

       Emilio Amendola                                     Prosperity Partners, Inc.
       A&G REAL ESTATE PARTNERS,                           7755 Belle Point Drive
       LLC                                                 Greenbelt, MD 20770
       445 Broadhollow Road, Suite 410
       Melville, NY 11747                                  Alice Ngwe Sab
                                                           1036 Lake Shore Drive
       Dorothy Chike-Onwuegbu                              Bowie, MD 20721
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                                                      /s/ Rebekah F. Paradis .
                                                    Rebekah F. Paradis
